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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


THE DEMOCRATIC PARTY OF
GEORGIA, INC., AND AFG GROUP,
                                             CIVIL ACTION FILE
     Plaintiffs,
                                             NO. 1:18-CV-5181-SCJ
v.

ROBYN A. CRITTENDEN, IN HER
OFFICIAL CAPACITY AS SECRETARY
OF STATE OF THE STATE OF
GEORGIA, et. al.,

     Defendants,

and

GEORGIA REPUBLICAN PARTY, INC.

     Defendant-Intervenor.




                                        ORDER

        This matter appears before the Court on the Plaintiffs’ Emergency Motion

for Preliminary Injunction (Doc. No. [4]) filed by Plaintiffs on November 12, 2018.

After a hearing and review of the parties’ submissions, the Court rules as follows.
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I. BACKGROUND

      This case comes before the Court on the Complaint for Declaratory and

Injunctive Relief and Emergency Motion for Preliminary Injunction filed by AFG

Group and the Democratic Party of Georgia. Doc. Nos. [1]; [4]. The Complaint,

which concerns the State of Georgia absentee ballot and provisional voting

schemes, was filed against Defendant Robyn A. Crittenden, in her official

capacity as Secretary of State for the State of Georgia (“Secretary Crittenden”),

the five members of the Gwinnett County Board of Registration and Elections,

Stephen Day, John Mangano, Alice O’Lenick, Ben Satterfield and Beauty

Baldwin, in their official capacities (“Gwinnett”), and the five members of the

DeKalb County Board of Registration and Elections, Michael Coveny, Anthony

Lewis, Leona Perry, Samuel Tillman and Baoky Vu, in their official capacities

(“DeKalb”). This Court held a hearing on November 13, 2018, for the purpose of

further discerning what issues to address in this order.




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      A. Relief Requested

      Plaintiffs in this case are requesting that this Court grant them two types

of relief. First, Plaintiffs seek declaratory and injunctive relief requiring the

acceptance of certain absentee ballots.      Specifically, Plaintiffs seek an order

requiring Defendant Gwinnett to restore the votes of at least 1,095 qualified

electors who properly submitted absentee ballots in the November 6, 2018

General Election and were rejected by Gwinnett due to missing or insufficient

information requested in the elector oath. Plaintiffs also seek to have the Court

direct any of the other 158 counties that have already certified election results to

restore the votes of qualified electors who properly submitted absentee ballots in

the election and were rejected due to missing or insufficient information

requested in the elector oath and to certify and file corrected returns. They

further seek to have all counties that have not certified their results from the

election accept these ballots and count them. The second request for relief which

Plaintiffs seek is injunctive relief and relates to provisional ballots. Plaintiffs are

seeking an order and judgment from the Court:

      a. Requiring counties to accept cures for and to verify provisional
         ballots until November 14, 2018 at 5:00 p.m.;
      b. Requiring counties to treat provisional ballots by a voter
         registered in another County the same as they would provisional
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         ballots cast by a voter within the wrong precinct of the same
         county as described by O.C.G.A § 21-2-419(c)(2);
      c. As to the counties that has already certified election results,
         directing the counties to restore the votes of qualified electors;
      d. Directing Secretary Crittenden to instruct those counties having
         not completed their certification of their results from the election
         to accept those ballots and count them; and
      e. Enjoining the Defendant class and Secretary Crittenden from
         certifying their returns until November 14, 2018.

   The Court takes judicial notice that there are at least three other cases related

to the 2018 Georgia Election pending before other federal judges in this district:

Georgia Coalition for the Peoples’Agenda, Inc. et al v. Kemp, 1:18-cv-04727-ELR

(NDGa, Oct. 11, 2018); Martin et al v. Kemp et al, 1:18-cv-04776-LMM (NDGa,

Oct. 15, 2018); Common Cause Georgia v. Kemp, No. 1:18-cv-5102-AT (NDGa,

Nov. 5, 2018).    The parties have filed notices of supplemental authority

containing orders issued by Judge Totenberg and Judge May. Doc. Nos. [9], [30].

      The Court will focus its inquiry on the following four issues:

      1. Whether the Secretary of State should be enjoined to require
         counties to count absentee ballots with incorrect birthdates.

      2. Whether the Secretary of State should be enjoined to require
         counties to count absentee ballots with incorrect residence
         addresses.

      3. Whether the Court should require the Secretary of State to extend
         the three-day period for counting provisional ballots.


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             4. Whether the Secretary of State should be enjoined to require
             counties to count the provisional ballots of voters who voted in
             incorrect counties as if they had merely voted in incorrect
             precincts, as described by O.C.G.A 21-2-419(c)(2).

      B. Absentee Ballots

      Georgia law authorizes any eligible voter to cast his or her absentee ballot

by mail. The first step in the absentee-voting process is for a voter to submit an

absentee ballot application via mail, fax, email, or in person. O.C.G.A. § 21-2-

381(a)(1)(A). A voter may submit an absentee ballot application as early as 180

days prior to the date of the primary or election through and including the Friday

before the primary or election. Id. Absentee ballots cannot be issued the day

before a primary or election. O.C.G.A. § 21-2-384(a)(1)(2).

      When an absentee ballot is requested, the county registrar or absentee

ballot clerk must determine if the applicant is eligible to vote in the relevant

primary or election by comparing the applicant’s identifying information to the

applicant’s information on file with the registrar’s office.     O.C.G.A. § 21-2-

381(b)(1).

      If the registrar determines that the signatures do not match, the clerk or the

board of registrars “shall deny the application by writing the reason for rejection

in the proper space on the application and shall promptly notify the applicant in

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writing of the ineligibility.” O.C.G.A. § 21-2-381(b)(2)(3). While there is no

procedure by which an elector can contest the registrar’s decision, the statutes do

not prevent an elector whose application is rejected from applying a second time

or voting in person.

      If a voter’s eligibility is confirmed, the registrar must mail an absentee

ballot to the voter. O.C.G.A. § 21-2-381(b)(2)(A). When an absentee voter

receives an official absentee ballot, the voter receives two envelopes. O.C.G.A. §

21-2-384(b). The voter must place the completed absentee ballot in the smaller of

the two envelopes. Id. The smaller envelope must then be placed in the larger

envelope, which contains the oath of the elector and a line for the elector’s

signature. O.C.G.A. § 21-2-384(b)-(c). All absentee ballots must be received by

7:00 p.m. on election day to be counted. O.C.G.A. § 21-2-386(a)(1)(F).

      Upon receipt of each absentee ballot, the registrar or clerk must reject the

ballot “[i]f the elector has failed to sign the oath, or if the signature does not

appear to be valid, or if the elector has failed to furnish required information or

information so furnished does not conform with that on file . . . or if the elector is

otherwise found disqualified to vote[.]” O.C.G.A. § 21-2-386(a)(1)(C). The clerk




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shall write “Rejected” across the face of the envelope, provide the reason for

rejection, and “promptly notify the elector of such rejection.” Id.

      An elector whose ballot is rejected pursuant to O.C.G.A. § 21-2-386(a) may

vote in the primary or election by either applying for a second absentee ballot at

least two days prior to the election or primary, or voting in person through early

absentee voting or at the elector’s polling place on the day of the election or

primary. Ga. Comp. R. & Regs. 183-1-14-.09.

      C. Provisional Ballots

      Georgia has established a system for provisional voting. O.C.G.A. §§ 21-2-

418 and 419. The statute providing for the right to cast a provisional ballot states,

in relevant part:

      (a) If a person presents himself or herself at a polling place, absentee
      polling place, or registration office in his or her county of residence
      in this state for the purpose of casting a ballot in a primary or election
      stating a good faith belief that he or she has timely registered to vote
      in such county of residence in such primary or election and the
      person’s name does not appear on the list of registered electors, the
      person shall be entitled to cast a provisional ballot in his or her
      county of residence in this state as provided in this Code section.

      (b) Such person voting a provisional ballot shall complete an official
      voter registration form and a provisional ballot voting certificate
      which shall include information about the place, manner, and
      approximate date on which the person registered to vote. The person
      shall swear or affirm in writing that he or she previously registered

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       to vote in such primary or election, is eligible to vote in such primary
       or election, has not voted previously in such primary or election, and
       meets the criteria for registering to vote in such primary or election.
       The form of the provisional ballot voting certificate shall be
       prescribed by the Secretary of State. The person shall also present
       the identification required by Code Section 21-2-417.

       (c) Such person voting a provisional ballot shall complete an official
       voter registration form and a provisional ballot voting certificate
       which shall include information about the place, manner, and
       approximate date on which the person registered to vote. The person
       shall swear or affirm in writing that he or she previously registered
       to vote in such primary or election, is eligible to vote in such primary
       or election, has not voted previously in such primary or election, and
       meets the criteria for registering to vote in such primary or election.
       The form of the provisional ballot voting certificate shall be
       prescribed by the Secretary of State. The person shall also present
       the identification required by Code Section 21-2-417.

O.C.G.A. § 21-2-418.

       Once a provisional ballot is cast, it will be counted if and only if the person

is later determined to have been entitled to vote. As set forth in O.C.G.A. § 21-2-

419:


       (b) At the earliest time possible after the casting of a provisional
       ballot, but no later than the day after the primary or election in which
       such provisional ballot was cast, the board of registrars of the county
       or municipality, as the case may be, shall be notified by the election
       superintendent that provisional ballots were cast in the primary or
       election and the registrars shall be provided with the documents
       completed by the person casting the provisional ballot as provided
       in Code Section 21-2-418. Provisional ballots shall be securely
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   maintained by the election superintendent until a determination has
   been made concerning their status. The board of registrars shall
   immediately examine the information contained on such documents
   and make a good faith effort to determine whether the person
   casting the provisional ballot was entitled to vote in the primary or
   election.

   (c)(1) If the registrars determine after the polls close, but not later
   than three days following the primary or election, that the person
   casting the provisional ballot timely registered to vote and was
   eligible and entitled to vote in such primary or election, the
   registrars shall notify the election superintendent and the
   provisional ballot shall be counted and included in the county’s or
   municipality’s certified election results.

   (2) If the registrars determine after the polls close, but not later than
   three days following the primary or election, that the person voting
   the provisional ballot timely registered and was eligible and entitled
   to vote in the primary or election but voted in the wrong precinct,
   then the board of registrars shall notify the election superintendent.
   The superintendent shall count such person’s votes which were cast
   for candidates in those races for which the person was entitled to
   vote but shall not count the votes cast for candidates in those races
   in which such person was not entitled to vote. The superintendent
   shall order the proper election official at the tabulating center or
   precinct to prepare an accurate duplicate ballot containing only
   those votes cast by such person in those races in which such person
   was entitled to vote for processing at the tabulating center or
   precinct, which shall be verified in the presence of a witness. Such
   duplicate ballot shall be clearly labeled with the word “Duplicate,”
   shall bear the designation of the polling place, and shall be given the
   same serial number as the original ballot. The original ballot shall be
   retained.

   (3) If the registrars determine that the person casting the provisional
   ballot did not timely register to vote or was not eligible or entitled to
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      vote in such primary or election or shall be unable to determine
      within three days following such primary or election whether such
      person timely registered to vote and was eligible and entitled to vote
      in such primary or election, the registrars shall so notify the election
      superintendent and such ballot shall not be counted. The election
      superintendent shall mark or otherwise document that such ballot
      was not counted and shall deliver and store such ballots with all
      other ballots and election materials as provided in Code Section 21-
      2-500.

      Finally, under O.C.G.A. § 21-2-418, counties have three days following the

election to process provisional ballots to determine whether they will be counted.

      D. Evidentiary Submissions

      Plaintiffs have presented various affidavits and declarations in support of

their argument.

      John DeLapp, Data Director for AFG, presented a declaration in which he

stated that as of the morning of November 12, 2018, there is an estimated figure

of in excess of 26,000 outstanding ballots cast. Doc. No. [17-3], p. 4, ¶ 11. Plaintiffs

state that they dispute testimony (in a prior case) from Secretary Crittenden’s

Elections Director that the number of provisional ballots cast was approximately

21,000. Doc. No. [4], p. 2, n.1.

      Rachel Knowles, a field organizer in the Dekalb County office of the

Democratic Party of Georgia, submitted an affidavit claiming that she “spoke


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with voters who sought to cure the status of their provisional ballots, but [who]

were . . . unable to do so . . . . “ Doc. No. [5], ¶ 7. She also states that election

officials were “unable to give the voters confirmation that their provisional ballot

would be counted.” Id. From the affidavit:

      For example, when voters go to [DeKalb County Board of Elections
      (DCBOE)] to cure their provisional ballot, they are asked if they were
      given paperwork by a poll worker. If yes, DCBOE copies the voter’s
      ID and has them fill out a form that I believe asked for their name
      and where they voted on Election Day though I did not see the form
      personally. The voters are then sent away, with DCBOE telling them
      that they will get a letter next week letting them know why they had
      to vote provisionally and whether or not their vote was counted.
      There is no confirmation whether these voters’ ballots will be
      counted. I witness one of the workers not even confirming with
      people whether they voted provisionally. She asked voters if they
      were given instructions to come here by the poll workers. If the voter
      responds no, she tries to send them away.

      Doc. No. [5].

      Terakesha Graves submitted an affidavit stating that she “moved back” to

DeKalb County without re-registering with the county board of elections. Doc.

No. [7]. On election day, she was told by a poll worker that she was registered

to vote in Henry County, not DeKalb County. Id. Ms. Graves states that she was

told by the poll worker that “I could not vote on the DRE machine but that I could

vote on a provisional ballot, which was handed to me. She did not instruct me to


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travel to Henry County and to cast my vote there.” Id. Ms. Graves went to the

DeKalb County Board of Elections on November 9, 2018 and the election

representative was not able to tell her “either way” if her provisional ballot

would be counted. Id. ¶ 7.    A second elections representative said that “they

wouldn’t know until the end of the day whether [her] ballot would be accepted

or rejected.” Id. ¶ 8.

      Lona Tate submitted an affidavit that she arrived to vote at a polling place

in DeKalb County on election day, but was told that she was registered to vote

in Cobb County instead and that she should go there. Doc. No. [8]. After

explaining that she did not have a car, Ms. Tate claims that the assistant poll

manager said she would need to vote the “old fashioned way,” by provisional

ballot. Id.

      Lauren Groh-Wargo, Campaign Manager of AFG (Stacey Abrams for

Governor), submitted an affidavit alleging unspecified problems with

provisional ballots. Doc. No. [10]. Rebecca DeHart, executive director for the

Democratic Party of Georgia (“DPG”), submitted an affidavit stating that DPG

“has received thousands of calls into its Voter Protection Hotline from aggrieved

absentee voters in Gwinnett County requesting DPG’s assistance.” Doc. No. [11].


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Quinn Mulholland, a field organizer in the Dekalb County office of the DPG,

submitted an affidavit that “DPG continues to receive calls and complaints from

voters who have been unable to check the status of their provisional and absentee

ballots, and who have been deprived of the opportunity to cure those ballots,

even when such voters at DCBOE in person.” Doc. No. [12].

II. PRELIMINARY MATTERS

         The Court first addresses several preliminary matters relevant to the

Court’s power to hear this case and to the scope of the relief the Court is able to

grant.

               A.    Class Action Status

         Plaintiffs include “class action” in the caption of their suit and make

allegations regarding “the Defendant class” throughout their complaint. See

Doc. No. [1]. They propose a Defendant class including the boards of registrars

and election superintendents of all of Georgia’s 159 counties. Id. at 14. However,

Plaintiffs have not named, served, or notified any of these other potential class

members of this suit. Nor have Plaintiffs filed a motion requesting certification

of such a class. Rather, Plaintiffs submit in a footnote that the Court might

“deem[] it necessary to certify a defendant class.” Id. at 1 n.1.


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      Federal Rule of Civil Procedure 23 outlines the requirements and

procedures for class certification. Fed. R. Civ. P. 23. The Court will not overlook

these procedural safeguards and take action simply because Plaintiffs suggest in

a footnote that it might be appropriate. At this stage of the litigation, absent class

certification, the only Defendants before the Court are the Secretary of State, the

members of the Gwinnett Board of Registration and Elections and the members

of the DeKalb Board of Registration and Elections. Thus, any potential relief the

Court could award in a preliminary injunction is limited to these Defendants.

             B.     Standing

      Defendants argue that Plaintiffs do not have standing to bring their claims.

To establish standing, Article III requires a plaintiff to show three things:


             First, the plaintiff must have suffered, or must face an
             imminent and not merely hypothetical prospect of
             suffering, an invasion of a legally protected interest
             resulting in a “concrete and particularized” injury.
             Second, the injury must have been caused by the
             defendant’s complained-of actions. Third, the plaintiff’s
             injury or threat of injury must likely be redressible by a
             favorable court decision.


Fla. State Conference of NAACP v. Browning, 522 F.3d 1153, 1159 (11th Cir. 2008)

(citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992)).
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                1.   Injury in fact

      An organization may demonstrate a concrete, imminent injury either

through a “diversion-of-resources” theory or through an associational-standing

theory. See Arcia v. Fla. Sec’y of State, 772 F.3d 1335, 1341–42 (11th Cir. 2014).

Here, Plaintiffs assert both types of standing. Doc. No. [1], ¶¶16, 19, 27. “Under

the diversion-of-resources theory, an organization has standing to sue when a

defendant’s illegal acts impair the organization’s ability to engage in its own

projects by forcing the organization to divert resources in response.” Arcia, 772

F.3d at 1341.

      Under an associational-standing theory, “[a]n organization has standing to

enforce the rights of its members ‘when its members would otherwise have

standing to sue in their own right, the interests at stake are germane to the

organization’s purpose, and neither the claim asserted nor the relief requested

requires the participation of individual members in the lawsuit.’” Browning, 522

F.3d at 1160 (quoting Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC),

Inc., 528 U.S. 167, 181 (2000)). “[W]hen the relief sought is injunctive, individual

participation of the organization’s members is not normally necessary. The nub

is whether the members themselves would have standing.” Browning, 522 F.3d


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at 1160. The organization need only show that its members “face[] a probability

of harm in the near and definite future” to establish injury that is sufficient to

confer standing to seek prospective relief. Id. at 1160–61.

      The Court finds that Plaintiffs have successfully established standing to

bring their claims regarding the rejection of absentee ballots and their challenges

to the constitutionality of the statutory framework for curing and counting

provisional ballots.    First, Plaintiffs have shown injury under both the

organizational and associational frameworks. With respect to organizational

standing, Plaintiffs provide declaration evidence that they will be required to

divert resources from existing uses to address both issues. Doc. Nos. [10]; [11].

Both organizations describe how the rejection of absentee mail-in ballots has

frustrated their organizational missions of increasing voter turnout and how the

inadequate cure period and procedures for handling provisional ballots has

forced them to shift resources away from preparing for the upcoming runoff

election to providing assistance to members adversely impacted by the curative

procedures. Doc. Nos. [10], pp. 3–6; [11], pp. 3–6.

      Defendants challenge Plaintiffs’ claims of injury on the basis that Plaintiffs

have not shown they diverted any resources from what they would normally be


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doing during an election campaign. Doc. No. [12], p. 23–25. Defendants argue

that there has been no change in existing law that would require Plaintiffs to do

anything differently.   Id. at 23.   Defendants cite multiple cases that found

standing where a change in a law or passage of a new law required a diversion

of resources for an organization, but they do not cite any case that stands for the

proposition that a change in law is required for the diversion-of-resources theory

to apply. See id. at 23–24.

      Under the current election circumstances, problems with how absentee

and provisional ballots are being processed have emerged. Those problems have

caused Plaintiffs to divert resources to address them, giving Plaintiffs a “direct

stake” in this litigation. See Arcia, 772 F.3d at 1340 (“Injury in fact reflects the

statutory requirement that a person be adversely affected or aggrieved, and it

serves to distinguish a person with a direct stake in the outcome of a litigation—

even though small—from a person with a mere interest in the problem.”)

(internal quotations omitted). It is immaterial whether the organizational injury

resulted from a change in the law or a change in election-year conditions and

circumstances that bring into focus potential problems with the state’s statutory

framework.    The Plaintiffs’ diversion of resources from preparation for the


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upcoming runoff elections to assisting individuals impacted by the handling of

absentee and provisional ballots is all the injury needed to meet the injury-in-fact

requirement. See Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982)

(“[C]oncrete and demonstrable injury to the organization’s activities—with the

consequent drain on the organization’s resources—constitutes far more than

simply a setback to the organization’s abstract social interests.”).

      As for injury under an associational-standing theory, Plaintiffs need only

show that at least one member faces an imminent threat of injury. Arcia, 772 F.3d

at 1342. Given that the Democratic Party has tens of thousands of members who

are active voters in the state, it is extremely unlikely that the rejection of absentee

ballots and the curative process for handling provisional ballots will not affect a

single Democratic Party member. This probable danger is sufficient to satisfy the

injury prong for associational standing.

      Defendants contend that Plaintiffs are unable to meet the third prong of

associational standing because individual members’ involvement is required in

this suit, since voting “is an individual right.”         Doc. No. [12], pp. 27–28.

Defendants assert that “individualized determinations will be required,” but do

not elaborate on what those determinations are or why an individual member’s


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participation is required. Id. at 27. Plaintiffs do not seek individual, retrospective

relief for their members. Rather, they seek prospective, injunctive relief directed

at election officials. Determining whether such relief is appropriate does not

require the Court to craft individual remedies, nor does it require every

Democratic Party member affected to participate in the suit. Therefore, the Court

finds that Plaintiffs sufficiently allege injury-in-fact under both an organizational

and associational standing theory.

             2.     Causation

      Defendant Gwinnett argues that Plaintiffs cannot meet the second

standing requirement to show that the injury was caused by the county’s actions.

Doc. No. [12], pp. 25–26. However, the Court can trace a direct line between

Gwinnett’s (or any county’s) decision to reject an absentee ballot for missing

information, when that information is not material to verifying a voter’s identity,

and the resulting injury when that person’s vote is not counted. Likewise, the

Court can trace a direct line between a county’s failure to accept curative




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information provided by a voter whose ballot was marked as provisional and

that voter’s resulting disenfranchisement.1

              3.     Redressibility

       Finally, Defendants assert that Plaintiffs’ injuries are not redressible by a

favorable ruling of the Court. Id. at 26. Their cursory argument, devoid of

supporting authority, is unpersuasive.           2   Plaintiffs allege injury to their

organization mission. An injunction directed at the Secretary of State addressing




1       Gwinnett cites Swann v. Secretary, 668 F.3d 1285 (11th Cir. 2012), to imply that
the voters in this case are responsible for their own injury. However, Swann is
distinguishable from the circumstances here. In that case, the plaintiff challenged a
statute he claimed deprived incarcerated individuals of the right to vote by absentee
ballot. Despite plaintiff’s claims about the statute, he had received an application for an
absentee ballot while in jail. He listed his home address under “Address as Registered”
and left the address for “Ballot to be mailed” blank. Accordingly, his absentee ballot
was mailed to his home address rather than to the jail. The Eleventh Circuit found he
lacked standing, because he was responsible for his own injury. Id. at 1288. Unlike the
circumstances in this case, in Swann, there were no intervening decisions by county
officials over whether or not to mail an absentee ballot or how to apply the challenged
statute. In the case at bar, individual voters may have omitted information or made
mistakes, but between their error and the potential harm of disenfranchisement stands
county officials’ decisions about how to treat those errors and omissions.
2       To the extent that Defendants’ redressibility argument rests on Plaintiffs’ failure
to join the 157 other boards of registrars and election superintendents, the Court rejects
this argument. The Secretary of State is a Defendant in this action and is the state official
charged with enforcing election laws. The Secretary of State has the power to notify
counties of errors in their computation and tabulation of votes, and to direct them to re-
certify such returns. See O.C.G.A. § 21-2-499. Thus, it is possible that an injunction
aimed at the Secretary of State can redress Plaintiffs’ injuries.
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election procedures can reduce Plaintiffs’ burden of assisting voters. Likewise,

any injunction that clarifies the legal requirements surrounding absentee ballots

or clarifying the curative procedures for provisional ballots can reduce the

number of rejected ballots, thereby addressing the individual harm suffered by

Plaintiffs’ members. Therefore standing is established.

      C.      Laches

      Defendants also argue that Plaintiffs could have, and should have, brought

these claims weeks ago.      Doc. Nos. [12], pp. 15–16; [14], pp. 19–22.     Thus,

according to Defendants, Plaintiffs’ unreasonable delay and the resulting

prejudice to Defendants should bar their claims. To invoke the doctrine of laches,

a defendant must show: “(1) there was a delay in asserting a right or claim, (2)

the delay was not excusable, and (3) the delay caused [the defendant] undue

prejudice.”   United States v. Barfield, 396 F.3d 1144, 1150 (11th Cir. 2005).

Establishing such a defense is fact-dependent; therefore, courts generally do not

prevent a plaintiff from proceeding with his claims when very little factual

information is available. See, e.g., Espino v. Ocean Cargo Line, Ltd., 382 F.2d 67,

70 (9th Cir. 1967).




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      With the limited information before the Court, it cannot say that any delay

on Plaintiffs’ part was unreasonable or inexcusable. For example, many of the

issues regarding voters experiences with the processing and curing of provisional

ballots did not arise until after election day. At this juncture, Defendants have

not convinced the Court that Plaintiffs’ claims are barred due to any delay.

III. LEGAL STANDARD

      The Court considers four factors when deciding whether to issue a

preliminary injunction pursuant to Federal Rule of Civil Procedure 65: (1)

whether there is a substantial likelihood of success on the merits; (2) whether the

preliminary injunction is necessary to prevent irreparable injury; (3) whether the

threatened injury outweighs the harm that the preliminary injunction would

cause to the non-movant; and (4) whether the preliminary injunction would be

adverse to the public interest. Parker v. State Bd. of Pardons and Paroles, 275

F.3d 1032, 1034–35 (11th Cir. 2001). Injunctive relief is an extraordinary and

drastic remedy and should not be granted unless the movant clearly establishes

the burden of persuasion as to each of these four factors. Siegel v. LePore, 234 F.

3d 1163, 1176 (11th Cir. 2000). In addition, “[a]t the preliminary injunction stage,

a district court may rely on affidavits and hearsay materials which would not be


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admissible evidence for a permanent injunction, if the evidence is ‘appropriate

given the character and objectives of the injunctive proceeding.’” Levi Strauss &

Co. v. Sunrise Int’l Trading Inc., 51 F.3d 982, 985 (11th Cir. 1995. The decision to

grant preliminary injunctive relief is within the broad discretion of the district

court. Majd–Pour v. Georgiana Cmty. Hosp., Inc., 724 F.2d 901 (11th Cir. 1984).

IV. LEGAL ANALYSIS

      A. Likelihood of Success on the Merits

      As stated above, the first factor when determining whether to issue

temporary or preliminary injunctive relief is whether the movant has a

substantial likelihood of success on the merits. Parker, 275 F.3d at 1035.

             1.     Absentee Mail-Ballots (Counts I, II, and III of the Complaint)

      The Court will first consider whether Plaintiffs have established a

substantial likelihood of success on the merits on their claims regarding the

rejection of absentee mail-in ballots. Plaintiffs allege that county election officials

who reject absentee mail-in ballots under O.C.G.A. § 21-2-386(a)(1)(C) solely due

to missing or insufficient oath information—and more specifically, incorrect or

omitted birth years and residential addresses—violate federal and state law.

Doc. No. [4], p. 9. Thus, Plaintiffs would have the Court enjoin Secretary


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Crittenden from certifying the Statewide Election results until all county election

officials   count   absentee   mail-in   ballots   with   missing    or   insufficient

oath information. Id. at p. 3. After due consideration, the Court agrees with

Plaintiffs—but only to the extent that absentee mail-in ballots rejected solely

because of a birth year error or omission must be counted statewide.

       The Georgia Supreme Court has previously recognized that Georgia law

“does not mandate the automatic rejection of any absentee ballot lacking the

elector’s place and/or date of birth.” Jones v. Jessup, 279 Ga. 531, 533 n.5, 615

S.E.2d 529, 531 n.5 (2005) (citing O.C.G.A. § 21-2-386). Further, pursuant to

Federal Rule of Evidence 201, the Court takes judicial notice of a November 12,

2018, memorandum, in which Secretary Crittenden instructed all county election

officials that they can count absentee mail-in ballots under O.C.G.A. § 21-2-

386(a)(1)(C) despite birth year errors or omissions. Martin v. Crittenden, No. 18-

cv-4776-LMM, Doc. No. [54], pp. 15–16. 3 While county election officials are




3       Despite being referenced several times by the parties throughout the hearing on
November 13, 2018, this memorandum was never filed in this case. It was, however,
filed in Martin v. Crittenden, No. 1:18-cv-4776-LMM, at Doc. No. [54], pp. 15–16.
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permitted to count such absentee mail-in ballots, however, the memorandum

does not explicitly inform them that they are required to do so. Id.

      The Court also takes judicial notice of a November 13, 2018, Order, in

which Judge May enjoined Gwinnett County election officials from rejecting

absentee mail-in ballots containing an error or omission relating to the voter’s

year of birth and ordered them to count such ballots. Martin v. Crittenden, No.

1:18-cv-4776-LMM, 2018 WL 5917860, at *7 (N.D. Ga. Nov. 13, 2018). Specifically,

Judge May found that “Gwinnett County’s process of rejecting absentee ballots

solely on the basis of an omitted or incorrect birth year violate[s] the Civil Rights

Act, 52 U.S.C. § 10101(a)(2)(B)[.]” Id. at *1. Section 10101(a)(2)(B) prohibits the

practice of disqualifying voters “because of an error or omission on any record

or paper relating to any application, registration, or other act requisite to voting,

if such error or omission is not material to determining whether such individual

is qualified under State law to vote in such election.” 52 U.S.C. § 10101(a)(2)(B).

The Eleventh Circuit has explained that this provision turns on “whether,

accepting the error as true and correct, the information contained in the error is

material to determining the eligibility of the applicant.” Fla. State Conf. of

NAACP v. Browning, 522 F.3d 1153, 1175 (11th Cir. 2008). Therefore, Judge May


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concluded that “a voter’s ability to correctly recite his or her year of birth on the

absentee ballot envelope is not material to determining said voter’s qualifications

under Georgia law.” Martin, 2018 WL 4917860, at *5.4

       In light of Judge May’s Order, the Court is concerned by Secretary

Crittenden’s discretionary instructions to county election officials in the

November 12, 2018, memorandum concerning the verification of absentee mail-

in ballots. While Gwinnett County is now under one instruction from Judge May

to count absentee mail-in ballots that contain a birth year error or omission, the

other 158 counties in Georgia have been given the impression that they have the

complete discretion to either count such ballots or reject them entirely.

Consequently, this current statewide discrepancy regarding absentee mail-in

ballots could not only lead to future voter confusion, but also to inconsistency in

how such ballots are counted. See Purcell v. Gonzalez, 549 U.S. 1, 4–5 (2006)



4       Notably, however, Judge May’s Order did not go so far as to say that a missing
signature, incorrect address, or other clerical errors are immaterial to verifying the
identity of the voter. Martin, 2018 WL 4917860, at *4, n.4. In the Order, Judge May found
that the plaintiffs offered “only conclusory statements and no supporting authority” for
their claim that such information was immaterial. Id. Similarly, in this case, Plaintiffs
have offered no supporting evidence that county election officials were rejecting
absentee mail-in ballots due to missing or incorrect residential addresses. Therefore, the
Court is unable to conclude that Plaintiffs have met their burden as to the residential
addresses issue.
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(“Court orders affecting elections, especially conflicting orders, can themselves

result in voter confusion and consequent incentive to remain away from the

polls.”); see also Bush v. Gore, 531 U.S. 98, 109 (2000) (“When a court orders a

statewide remedy, there must be at least some assurance that the rudimentary

requirements of equal treatment and fundamental fairness are satisfied.”).

      Thus, for the sake of statewide uniformity and assurance that all absentee

mail-in ballots are equally treated, the Court adopts the rationale set forth in

Judge May’s Order and holds that absentee mail-in ballots rejected solely because

of an omitted or erroneous birth date must be counted. Therefore, the Court finds

that Plaintiffs have met their burden in showing a substantial likelihood of

success on the merits with respect to their absentee mail-in ballot claims.

             2. Provisional Ballots (Counts IV, V, and VI)

      In Count IV Plaintiffs allege that Defendants have violated the

fundamental right to vote under the First and Fourteenth Amendments of the

United States Constitution by enforcing the requirement of Georgia law (i.e., the

three-day cure period, O.C.G.A. § 21-2-419) that county boards cannot cure

provisions ballots after November 9, 2018. Plaintiffs state that: “[i]n light of the




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historic numbers of provisional ballots cast in this election, and the burdens on

the county due in part to improper actions by Secretary Crittenden’s predecessor,

Brian Kemp, many voters will be disenfranchised for races up and down the

ballot because there simply has not been enough time to cure their provisional

ballots.” Doc. No. [1], ¶ 118. Plaintiffs state that “[u]nder Georgia law, it appears

that any voters whose provisional ballots have not been resolved by November

9, 2018 will be disenfranchised, simply because the counties in which they

respectively reside could not address their ballots in time.” Id. ¶ 6.

      Plaintiffs also allege that “rejecting provisional ballots because they were

cast in a different county from the voter’s registration address unconstitutionally

deprives such voters of their fundamental right to vote—particularly where

registration errors and administrative confusion appear to have led to

exponentially greater confusion on behalf of the voters.” Id. ¶ 123.

      In Count V of the Complaint, Plaintiffs allege a violation of the due process

clause of the Fourteenth Amendment.           Plaintiffs allege that “it would be

improper, unfair, and contrary to the Fourteenth Amendment’s guarantee of due

process of law [Georgia counties], to continue to reject provisional ballots without

providing sufficient time for the voter to learn of the problem and attempt to


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provide a cure accepted by knowledgeable county elections officials.” Doc. No.

[1], ¶ 128.5 Plaintiffs further allege that “[t]he application of that statutory regime

[requiring that provisional ballots be cured ‘not later than three days’ following

the election] under these circumstances is unconstitutional.” Id. ¶127.

       Count VI alleges a violation of the Equal Protection Clause of the

Fourteenth Amendment on the ground that “enforcing the requirement in

[O.C.G.A.] § 21-2-419(c) that provisional ballots cannot be cured later than three

days after the election, results in arbitrary and disparate treatment of provisional

voters depending simply on the resources of county boards to cure ballots within

this narrow timeframe.” Doc. No. [1], ¶ 131.

       At the November 13, 2018 hearing, Plaintiffs, through Counsel, clarified

that they are not asserting a facial attack on O.C.G.A. § 21-2-419 so as to have it

declared illegal for all time. Plaintiffs’ Counsel stated that they are attacking the

statute, as it is applied to the circumstances of the 2018 General Election. To this

regard, the Court’s rulings are in the context of an as-applied constitutional

challenge to certain portions of Georgia’s statutory election scheme.



5
  Paragraph 128 of the Complaint references “absentee ballots,” however, the Court
infers that the Plaintiffs meant “provisional ballots.”
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                   i. Enforcement of the statutory requirement that counties
                      cannot cure provisional ballots after three days (Counts
                      IV and VI)

      With respect to Counts IV and VI of the Complaint, in their motion,

Plaintiffs assert that voters are slated to be disenfranchised because there has not

been enough time to cure their provisional ballots. Doc. No. [4], p. 13.

      In opposition to the Plaintiffs’ motion, Secretary Crittenden filed a

Declaration of Chris Harvey, Elections Director for the Office of the Secretary of

State for the State of Georgia, in which he stated that he had not received any

reports from county election officials that they were unable to accurately

determine the validity of provisional ballots cast in their jurisdiction during the

statutory period of three days following the election. Doc. No. [33], ¶ 9.

      After review, the Court finds that there is a lack of evidentiary support for

Plaintiffs’ contention that there has not been enough time to cure the provisional

ballots filed in the 2018 General Election. Accordingly, Plaintiffs have not met

their burden of persuasion as to a likelihood of success on the merits as to Counts

IV and VI.




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                         ii. Out of county provisional ballots (Count IV)

      In their motion, Plaintiffs seek an order for the Court to declare that

counties treat provisional ballots cast in the November 6, 2018 General Election

by a voter registered in another county as if the voter had cast the ballot within

the wrong precinct of the same county.      Doc. No. [4], p. 4. At the hearing,

Plaintiffs referenced Judge Totenberg’s order (cited above) as a roadmap to make

such declaration.

      Under Georgia’s current election scheme, a ballot cast out of the voter’s

county of residence is not counted. O.C.G.A § 21-2-218(f) (“No person shall vote

in any county or municipality other than the county or municipality of such

person’s residence except as provided in subsection (e) of this Code section.”).

      After the hearing and pursuant to the Court’s request, Plaintiffs filed a

response in support of their motion, concerning how many provisional ballots

were cast by a voter in what the county believed is their county of residence,

because voter registration records showed the voter as registered in another

county. Doc. No. [37]. In their response, Plaintiffs state that they “cannot

produce a reliable, fixed number of voters who cast provisional ballots because

they were voting in a county other than their county of residence (according to


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state voter registration records) in the November 6, 2018 General Election, for

several reasons, to include: lack of reliable form, handwritten forms, and use of

different codes by the counties. Doc. No. [37], p. 2. Plaintiffs also state that

“according to their compiled records, 13,138 provisional ballots were tagged by

county poll officials with the code “OP,”6 or some variation thereof, but analysis

of which specific ballots were cast in a county other than the county of residence

according to state voter registration records, versus out of precinct within the

same county according to state voter registration records, is not available at this

time.” Doc. No. [37], pp. 3–4. Plaintiffs also state that “the Democratic Party of

Georgia states that it has received at least 456 incident reports, compiled by poll

watchers or Hotline attendees, in which a registered voter seeking to cast a ballot

in one county was told, contrary to the voter’s understanding of her registration,

that the voter resided in a different county and needed either to return to that

different county to vote or to vote provisionally, through November 9, 2018.”

Doc. No. [37], p. 4.




6
 In Common Cause Georgia v. Kemp, No. 1:18-cv-5102-AT, the court stated that the
Code “OP” means “out of precinct.” (NDGa, Nov. 12, 2018).
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      “Although the United States Constitution, and Supreme Court decisions

interpreting the Constitution, give primary responsibility for administering and

regulating elections to the States, the States must adhere to certain constitutional

and statutory requirements.” Sandusky Cty. Democratic Party v. Blackwell, 387

F.3d 565, 569 (6th Cir. 2004).

      “The Supreme Court has rejected a ‘litmus-paper test’ for ‘[c]onstitutional

challenges to specific provisions of a State’s election laws’ and instead has

applied a ‘flexible standard.’” Common Cause/Georgia v. Billups, 554 F.3d 1340,

1352 (11th Cir. 2009). The United States Supreme Court has held that:

      A court considering a challenge to a state election law must weigh
      “the character and magnitude of the asserted injury to the rights
      protected by the First and Fourteenth Amendments that the plaintiff
      seeks to vindicate” against “the precise interests put forward by the
      State as justifications for the burden imposed by its rule,” taking into
      consideration “the extent to which those interests make it necessary
      to burden the plaintiff’s rights.” Id., at 789, 103 S.Ct., at 1570;
      Tashjian, supra, 479 U.S., at 213–214, 107 S.Ct., at 547–548. Under this
      standard, the rigorousness of our inquiry into the propriety of a state
      election law depends upon the extent to which a challenged
      regulation burdens First and Fourteenth Amendment rights. Thus,
      as we have recognized when those rights are subjected to “severe”
      restrictions, the regulation must be “narrowly drawn to advance a
      state interest of compelling importance.” Norman v. Reed, 502 U.S.
      279, 289, 112 S.Ct. 698, 705, 116 L.Ed.2d 711 (1992). But when a state
      election law provision imposes only “reasonable, nondiscriminatory
      restrictions” upon the First and Fourteenth Amendment rights of
      voters, “the State’s important regulatory interests are generally
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      sufficient to justify” the restrictions. Anderson, 460 U.S., at 788, 103
      S.Ct., at 1569–1570; see also id., at 788–789, n. 9, 103 S.Ct., at 1569–
      1570, n. 9.

Burdick v. Takushi, 504 U.S. 428, 434 (1992).

      The following principles also guide the Court’s analysis: “[o]nly in

extraordinary circumstances will a challenge to a state election rise to the level of

a constitutional deprivation.” Curry v. Baker, 802 F.2d 1302, 1314 (11th Cir. 1986).

“We agree that federal courts should refrain from holding a state election law

unconstitutional when a reasonable alternative course of action exists.” Roe v.

State of Ala. By & Through Evans, 43 F.3d 574, 582 (11th Cir. 1995).

      In argument and briefing, the Secretary of State asserts a state interest of

prevention of voter fraud. In his Declaration, the Secretary of State’s Elections

Director stated that “[i]f the state allowed out of county voting, there would be

no practical way of knowing if a voter voted in more than one county. Voter

registration occurs at the county level [and] [p]rovisional ballot determination

occurs at the county level.”     Doc. No. [33], ¶ 11.     “Countering the State’s

compelling interest in preventing voter fraud is the plaintiffs’ strong interest in

exercising the ‘fundamental political right’ to vote.” Purcell v. Gonzalez, 549 U.S.




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1, 4 (2006). However, the Supreme Court has clearly stated that the right to vote

is “not absolute” in terms of where and when a citizen’s ballot is cast:

      It is beyond cavil that “voting is of the most fundamental
      significance under our constitutional structure.” Illinois Bd. of
      Elections v. Socialist Workers Party, 440 U.S. 173, 184, 99 S.Ct. 983,
      990, 59 L.Ed.2d 230 (1979). It does not follow, however, that the right
      to vote in any manner and the right to associate for political
      purposes through the ballot are absolute. Munro v. Socialist
      Workers Party, 479 U.S. 189, 193, 107 S.Ct. 533, 536, 93 L.Ed.2d 499
      (1986). The Constitution provides that States may prescribe “[t]he
      Times, Places and Manner of holding Elections for Senators and
      Representatives,” Art. I, § 4, cl. 1, and the Court therefore has
      recognized that States retain the power to regulate their own
      elections. Sugarman v. Dougall, 413 U.S. 634, 647, 93 S.Ct. 2842, 2850,
      37 L.Ed.2d 853 (1973); Tashjian v. Republican Party of Connecticut,
      479 U.S. 208, 217, 107 S.Ct. 544, 550, 93 L.Ed.2d 514 (1986). Common
      sense, as well as constitutional law, compels the conclusion that
      government must play an active role in structuring elections; “as a
      practical matter, there must be a substantial regulation of elections
      if they are to be fair and honest and if some sort of order, rather than
      chaos, is to accompany the democratic processes.” Storer v. Brown,
      415 U.S. 724, 730, 94 S.Ct. 1274, 1279, 39 L.Ed.2d 714 (1974).

Burdick, 504 U.S. at 434.

      In applying the above-stated test and weighing applicable interests,

without more evidence to the contrary, this Court finds for the limited purpose

of the pending motion for preliminary injunction that O.C.G.A § 21-2-218(f) is

narrowly drawn to advance the State of Georgia’s important regulatory interest

of prevention of voter fraud and therefore constitutes a “reasonable,
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nondiscriminatory restriction” upon the right to vote and not a “severe”

restriction. Burdick, 504 U.S. at 434.7 Plaintiffs do not present sufficient evidence

to show that the State’s interest in preventing voter fraud is unreasonable, nor do

they show that the restriction was applied in a discriminatory manner. The

restriction of in-county voting constitutes the “substantial regulation of

elections” required by “common sense” to ensure that they are “fair and honest”

and conducted with order, rather than chaos. Id.

                    iii. Procedural due process (Count V)

       As stated above, Plaintiffs argue that the application of the statutory

regime (three-day rule) of O.C.G.A. § 21-2-419(c) is unconstitutional under the

present circumstances. Doc. No. [1], ¶127. In their Complaint, Plaintiffs allege

that “it would be improper, unfair, and contrary to the Fourteenth Amendment’s

guarantee of due process of law [Georgia counties], to continue to reject

provisional ballots without providing sufficient time for the voter to learn of the

problem and attempt to provide a cure [that will be] accepted by knowledgeable

county elections officials.” Doc. No. [1], ¶ 128



7
  Even if the in-county voting requirement is considered a “severe” restriction on the
right to vote, the Court’s decision does not change.
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      “A procedural due process claim has three elements: (1) a deprivation of a

constitutionally-protected liberty or property interest; (2) state action; and (3)

constitutionally-inadequate process.” Greene Dreams Shoe Care Ctr., Inc. v.

Miami-Dade Cty., Fla., No. 1:13-CV-22231-UU, 2015 WL 519046, at *2 (S.D. Fla.

Feb. 4, 2015) (citing Grayden v. Rhodes, 345 F.3d 1225, 1232 (11th Cir. 2003)).

      In their motion and in support of their procedural due process claims,

Plaintiffs cite the declarations of Rachel Knowles, Lona Tate, Terakesha Graves,

and Rachel Knowles as examples of ballots being rejected through no fault of the

elector and without providing the elector an adequate process to remedy the

rejection. Doc. No. [4], p. 14. Each declaration is described in detail in the

background section of this Order, supra.

      In response and at the hearing, Defendants presented evidence that Ms.

Tate did not actually change her voter registration until October 19, 2018 and

therefore had not timely changed her address prior the voter registration

deadline. Doc. No. [14-1], p. 5, ¶8 and p. 6. Secretary Crittenden asserts that Ms.

Tate’s situation has nothing to do with the application of the three-day window

and does not prove Plaintiffs’ case. Secretary Crittenden also asserts that there is




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no evidence that Ms. Tate’s vote was not counted. The Court agrees that Ms.

Tate’s situation is not an example of a procedural due process claim.

      As to the remaining examples, a review of the Georgia Elections Code

shows that state procedures already provide for how the example situations cited

by Plaintiffs were to be handled by the DeKalb County Board of Elections Office.

See O.C.G.A. § 21-2-1, et seq. Without more, it appears that Plaintiffs’ evidence is

within the realm of failure to follow state procedures.         “[T]he law is well

established that the mere failure to follow state procedures does not necessarily

rise to the level of a violation of federal procedural due process rights. See Harris

v. Birmingham Bd. of Educ., 817 F.2d 1525, 1528 n.15 (11th Cir.1987) (citing

Maddox v. Stephens, 727 F.3d 1109, 1124 (11th Cir. 2013) (“[W]e emphasize that

the violation of a state statute outlining procedure does not necessarily equate to

a due process violation under the federal constitution. If otherwise, federal courts

would have the task of insuring strict compliance with state procedural

regulations and statutes.”).

      Accordingly, the Court finds that Plaintiffs have not demonstrated a

likelihood of success as to Count V.




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      Because the Court finds that Plaintiffs have failed to demonstrate a

substantial likelihood of success on the merits as to Counts IV through VI of the

Complaint, the Court need not determine whether Plaintiffs established the

remaining three prerequisites as to these three counts of the Complaint.”

Variable Annuity Life Ins. Co. v. Laeng, No. 8:12-CV-2280-T-33MAP, 2013 WL

500145, at *4 (M.D. Fla. Feb. 11, 2013).

      B. Remaining Preliminary Injunction Factors

      Having found that Plaintiffs established a substantial likelihood of success

on the merits on their claims regarding the rejection of absentee mail-in ballots,

the Court now turns to the remaining preliminary injunction factors. To succeed

under the second factor, Plaintiffs must show “a substantial likelihood of

irreparable injury” if a preliminary injunction is not issued. Siegel, 234 F.3d at

1176. Generally, this means that a party cannot be made whole by monetary

damages. See Odebrecht Constr., Inc. v. Sec’y, 715 F.3d 1268, 1289 (11th Cir. 2013).

Here, the asserted injury is the disenfranchisement of certain voters who cast

absentee or provisional ballots. Without a preliminary injunction, the voters

whose ballots have been rejected on improper grounds or without a chance to

cure the rejection will lose their opportunity to vote in this election; an injury that


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money cannot compensate. Courts consistently find infringements of voting

rights to qualify as irreparable injury. League of Women Voters of N. Carolina v.

North Carolina, 769 F.3d 224, 247 (4th Cir. 2014); Obama for Am. v. Husted, 697

F.3d 423, 436 (6th Cir. 2012); Cunningham v. Adams, 808 F.2d 815, 821 (11th Cir.

1987). In light of the nature of the potential injuries Plaintiffs, the Court finds that

Plaintiffs have established irreparable injury and this factor weighs in their

favor.8

       Next, to succeed under the third factor, the Court must consider whether

the threatened injury to the movant outweighs the hardship that would be

experienced by the opposing party if the preliminary injunction were issued.

Parker, 275 F.3d at 1035. With respect to hardship, Defendants argue that

Plaintiffs’ requested preliminary injunction would delay the certification of the

statewide election and thus disrupt any preparations made for any run-off

elections. Doc. No. [14], pp. 17–18. Defendants further argue that their asserted




8      Defendants argue that Plaintiffs delay in challenging the election procedures
involved in this case is an indication of their lack of irreparable harm. Doc. No. [16],
pp. 13–15. However, as the Court discussed in Part III.A.3, many of the problems
Plaintiffs’ describe with the electoral procedures were not evident until during and after
the election. The Court declines to view Plaintiffs timing as indicative of an absence of
an irreparable injury.
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hardships outweigh any alleged injury to Plaintiffs, who have an alternative state

law remedy available to them in the form of Georgia’s election contest

procedures under O.C.G.A. § 21-2-522.

      Any hardship that Defendants suffer due to a preliminary injunction,

however, is outweighed by the harm that disenfranchised Plaintiffs would suffer

should the Court not grant their requested preliminary injunction. As previously

discussed, the disenfranchisement of the right to vote is an irreparable injury and

one that cannot easily be redressed. Further, the state law remedy that

Defendants suggest is available to Plaintiffs does nothing to alleviate the harm

suffered by individual voters. Therefore, the Court finds that Plaintiffs have

established that their threatened injury outweighs any hardship that would be

experienced by Defendants if the preliminary injunction were issued.

      Finally, to succeed under the fourth factor, the Court must determine

whether Plaintiffs’ requested preliminary injunction would be adverse to public

interest. Defendants again argue that any disruption or delay in the certification

of the statewide election—and consequently, any disruption or delay in any

preparations made for run-off elections—would be adverse to public interest.

Doc. No. [14], pp. 18–19. The Court, however, finds that public interest is better


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served by ensuring that qualified absentee voters have the opportunity to vote

and, more importantly, have their votes counted. See Charles H. Wesley Educ.

Foundation, Inc. v. Cox, 408 F.3d 1349, 1355 (11th Cir. 2005) (“[T]he Plaintiffs’

franchise-related rights [are] without question in the public interest.”); see also

Wesberry v. Sanders, 376 U.S. 1, 17 (1964) (“No right is more precious in a free

country than that of having a voice in the election of those who make the laws

under which, as good citizens, we must live. Other rights, even the most basic,

are illusory if the right to vote is undermined.”). Accordingly, the Court finds

that the preliminary injunction would not be adverse to public interest.

IV. CONCLUSION AND PARTIAL INJUNCTIVE RELIEF

      Accordingly, Plaintiffs’ Emergency Motion for Preliminary Injunction

(Doc. No. [4]) is GRANTED IN PART AND DENIED IN PART.

      Plaintiffs have shown that they are entitled to preliminary injunctive relief

as to the absentee ballot (date of birth) issue. Plaintiffs have not shown that they

are entitled to preliminary injunctive relief as to the absentee ballot (residence)

issue and provisional ballot issues. The Court specifically DENIES Plaintiffs’

request to extend the cure period and require the counting of out-of-county of

residence provisional ballots.


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      The Secretary of State is ENJOINED from certifying the State Election

results until she has confirmed that each county’s returns include the counts for

absentee ballots where the birth date was omitted or incorrect.

      In the exercise of the Court’s discretion, no bond is required pursuant to

Federal Rule of Civil Procedure 65.

      IT IS SO ORDERED this 14th day of November, 2018.



                                      s/Steve C. Jones_____________________
                                      HONORABLE STEVE C. JONES
                                      UNITED STATES DISTRICT JUDGE




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